                       Case 05-35597-kjm    Doc 42      Filed 10/17/08    Page 1 of 1
                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS
IN RE:                                       )               In Proceedings Under
                                             )               Chapter 7
GRAVEMANN, KEVIN & RHONDA,                   )
                                             )               BK 05-35597
               DEBTORS.                      )
                          APPLICATION TO APPROVE SETTLEMENT
                          AND PAYMENT OF ATTORNEYS FEES AND COSTS

         COMES NOW Laura K. Grandy, the Trustee in the above-referenced bankruptcy proceeding,

and for her Application to Approve Settlement and Payment of Attorneys Fees and Costs states as

follows:

         1.    The Debtors filed a Petition for Relief pursuant to Chapter 7 on October 12, 2005. Listed

as an asset was a pending lawsuit against SBC Services, Inc. The bankruptcy estate hired Lee W.

Barron to represent the estate in this matter. Lee Barron was retained on a contingent fee basis of 1/3 of

the amount recovered plus expenses.

         2.    A settlement has been offered by AT&T Services, Inc. on behalf of SBC Services, Inc. in

the amount of $62,000.00 plus costs to dismiss the suit and obtain a release.

         3.    Based upon the recommendation of Lee Barron, the Trustee believes this settlement is in

the best interest of this estate. The Settlement will result in the creditors being paid 100% of the amount

of the claims filed.

         4.    Upon approval of this Settlement, the Trustee shall be authorized to pay Lee Barron the

amount of $20,666.66. The Defendant is paying the costs directly to Lee Barron.

         WHEREFORE, the Trustee prays that this Court enter an Order approving the Settlement and

authorizing payment of attorneys’ fees to Lee Barron.

       Dated this 16th day of October, 2008.           /s/ Laura K. Grandy, Trustee
Mathis, Marifian, Richter & Grandy, Ltd.
23 Public Square, Suite 300
Belleville, IL 62220
(618) 234-9800                               CERTIFICATE OF SERVICE

       I, LAURA K. GRANDY, HEREBY CERTIFY that on this 16th day of October, 2008, I have
forwarded a copy of the foregoing instrument via electronic mail or by U.S. mail to Clifford C. Emons,
112 W. Homer Adams Pkwy, P.O. Box 8274, Alton, IL 62002-8248; Michael J. McKitrick, 150 N.
Meramec, 4th Fl., St. Louis, MO 63105; Leonora Long, Assistant U. S. Trustee, Becker Building, Room
1100, 401 Main Street, Peoria, IL 61602; and to all creditors on the matrix.

                                                     /s/ Laura K. Grandy
